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                             Nebraska Court of Appeals Advance Sheets
                                  29 Nebraska Appellate Reports
                                        ARROYO v. CARING FOR PEOPLE SERVS.
                                                Cite as 29 Neb. App. 93



                              Melina Arroyo, appellant, v. Caring for
                                  People Services, Inc., appellee.
                                                     ___ N.W.2d ___

                                         Filed November 10, 2020.   No. A-20-030.

                 1. Workers’ Compensation: Appeal and Error. A judgment, order, or
                    award of the compensation court may be modified, reversed, or set aside
                    only upon the grounds that (1) the compensation court acted without or
                    in excess of its powers; (2) the judgment, order, or award was procured
                    by fraud; (3) there is not sufficient competent evidence in the record to
                    warrant the making of the judgment, order, or award; or (4) the findings
                    of fact by the compensation court do not support the order or award.
                 2. ____: ____. An appellate court is obligated in workers’ compensation
                    cases to make its own determinations as to questions of law.
                 3. ____: ____. Findings of fact made by the compensation court after
                    review have the same force and effect as a jury verdict and will not be
                    set aside unless clearly erroneous.
                 4. Workers’ Compensation: Evidence. An award of future medical
                    expenses requires explicit medical evidence that future medical treat-
                    ment is reasonably necessary to relieve the injured worker from the
                    effects of the work-related injury.
                 5. Workers’ Compensation: Expert Witnesses. It is the role of the com-
                    pensation court as the trier of fact to determine which, if any, expert
                    witnesses to believe.
                 6. Workers’ Compensation: Appeal and Error. Where the record pre­
                    sents nothing more than conflicting medical testimony, an appellate court
                    will not substitute its judgment for that of the compensation court.

                 Appeal from the Workers’ Compensation Court: James R.
               Coe, Judge. Affirmed.
                 Terry M. Anderson and Michael W. Khalili, of Hauptman,
               O’Brien, Wolf &amp; Lathrop, P.C., for appellant.
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
              ARROYO v. CARING FOR PEOPLE SERVS.
                      Cite as 29 Neb. App. 93
  Kathryn L. Hartnett, of Prentiss Grant, L.L.C., for appellee.
  Pirtle, Riedmann, and Arterburn, Judges.
  Pirtle, Judge.
                    INTRODUCTION
   Melina Arroyo appeals from an order of the Nebraska
Workers’ Compensation Court, which declined to award her
future medical expenses. Based on the reasons that follow,
we affirm.
                        BACKGROUND
   At all times relevant, Arroyo was employed by Caring for
People Services, Inc. (CPS), as a supervisor. She oversaw the
caregivers that went to patients’ homes and was also on call
at certain times for various purposes. On February 2, 2018,
Arroyo was helping with an obese patient in the course of her
work and was injured when she tried to prevent the patient from
falling out of his bed. When Arroyo was pulling the patient
back into bed, she felt a “crack in [her] back.” She described
her pain as extending “[f]rom shoulder blade to shoulder blade.
It was an instant kind of — kind of radiating pain.”
   On February 5, 2018, Arroyo went to a patient’s home and
was going to transport the patient to a doctor’s appointment.
While helping the patient into Arroyo’s vehicle, Arroyo ­reinjured
her back in the same area where she experienced pain on
February 2. On February 9, Arroyo was injured again when she
was helping another caregiver lift a patient in a wheelchair up
several steps into a residence. Arroyo experienced pain in the
same area as on February 2 and 5. She testified, “[A]nd that
was the end of the back. I couldn’t do anything after that.”
   Arroyo went to see her primary doctor on February 22,
2018, complaining of pain and stiffness in her neck. Her doctor
referred her to a physical therapist, and she began seeing the
physical therapist later that month. At the time of trial in this
matter, November 2019, Arroyo was still occasionally going to
physical therapy “when the pain comes back.”
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
             ARROYO v. CARING FOR PEOPLE SERVS.
                     Cite as 29 Neb. App. 93
   In August 2018, Arroyo began seeing Dr. Jeremy Gallant for
her back pain. Gallant recommended “medial branch blocks”
for Arroyo’s injuries, and she subsequently had two blocks
performed that each gave her temporary relief. Gallant then
recommended a procedure called radio frequency ablation
(RFA), which Arroyo underwent in March 2019. Arroyo testi-
fied that the RFA worked “[g]reat” and that she was feeling
much better. She further testified Gallant told her that if the
pain starts coming back, he can give her another injection to
help the muscles relax, and that if the “radiating pain for the
nerve” comes back, she might need “another round of ablation
or something.”
   Arroyo voluntarily left her employment with CPS in
mid-March 2018 and began working for a credit union as a
loan originator.
   Arroyo also testified that prior to her injuries in February
2018, she would run 15 to 20 miles a week. She testified
that prior to those injuries, she had signed up to run a half
marathon in May 2018. She testified that she tried to continue
her training after the work incidents, but “[i]t was hard some-
times,” and she claimed she did more walking than running.
She testified that she did compete in and finish the half mara-
thon. Arroyo also testified that she completed a “10K” race in
April 2019. She testified that at the time of trial, she was no
longer running.
   At CPS’ request, Dr. Benjamin Bixenmann, a neurosur-
geon, performed a medical evaluation of Arroyo on January
31, 2019. Bixenmann stated that it appeared Arroyo’s neck
and shoulder pain was not significant at multiple times during
the last year. He noted that she completed training and a race
for a half marathon in May 2018 and that there were multiple
office visits with her primary doctor in April and May 2018,
where there were no reports of any significant neck or shoulder
pain. Bixenmann concluded that Arroyo’s workplace injury
and resultant pain were related to a “muscular neck strain” in
the trapezoid muscle area. He stated that there are no appropri-
ate surgical interventions and that he would not recommend
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
              ARROYO v. CARING FOR PEOPLE SERVS.
                      Cite as 29 Neb. App. 93
RFA for treatment of a muscular neck strain. Bixenmann placed
Arroyo at maximum medical improvement as of January 31,
2019, and assigned her a whole person impairment of 1 per-
cent. He also stated that Arroyo had demonstrated the ability
to exercise and complete tasks without restriction over the last
year and that he would not place any permanent restrictions on
her occupation going forward.
   In a followup letter dated October 30, 2019, Bixenmann
added that Arroyo’s MRI performed on July 9, 2018, did not
show any structural injury to the spine related to the work
injury and that therefore, it would not be medically necessary
to restrict her activities due to the work injury.
   In regard to future medical treatment, Gallant gave his opin-
ion in a letter dated September 19, 2019, where he responded
to specific questions from Arroyo’s counsel. Gallant was asked:
“Whether [Arroyo’s] condition is chronic in nature, and if so,
what symptoms you would expect her to experience in the
future?” Gallant responded: “She is more likely than not to
have some intermittent recurrence of neck pain.” Gallant also
was asked: “Will [Arroyo] require future medical treatment due
to the aforementioned work injuries, such as physical therapy,
medical appointments, medications, cervical medial branch
blocks blocks [sic], surgery, etc? If so, what type of treat-
ment?” Gallant responded: “I expect she may require a repeat
[RFA], intermittent physical therapy, occasional physician vis-
its (3-4/year). She will likely remain on current medications for
the foreseeable future.”
   On February 15, 2019, Arroyo brought this action seek-
ing recovery under the Nebraska Workers’ Compensation Act.
She sought recovery for temporary and permanent disabil-
ity and loss of earning capacity, past medical expenses, and
future medical expenses. On December 13, the compensation
court awarded her benefits based on the court’s finding of a
5-percent loss of earning capacity. It also ordered CPS to pay
past medical and mileage expenses incurred by Arroyo. The
court declined to award Arroyo future medical expenses.
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
              ARROYO v. CARING FOR PEOPLE SERVS.
                      Cite as 29 Neb. App. 93
                 ASSIGNMENTS OF ERROR
   Arroyo assigns, restated, that the compensation court erred
in (1) relying on exhibit 30, Bixenmann’s report, in reaching its
decision on future medical expenses, because the exhibit was
not received into evidence, and (2) failing to award her future
medical expenses.
                   STANDARD OF REVIEW
   [1] Pursuant to Neb. Rev. Stat. § 48-185 (Cum. Supp. 2018),
a judgment, order, or award of the compensation court may be
modified, reversed, or set aside only upon the grounds that (1)
the compensation court acted without or in excess of its pow-
ers; (2) the judgment, order, or award was procured by fraud;
(3) there is not sufficient competent evidence in the record to
warrant the making of the judgment, order, or award; or (4) the
findings of fact by the compensation court do not support the
order or award. Martinez v. CMR Constr. &amp; Roofing of Texas,
302 Neb. 618, 924 N.W.2d 326 (2019).
   [2,3] An appellate court is obligated in workers’ compensa-
tion cases to make its own determinations as to questions of
law. Id. Findings of fact made by the compensation court after
review have the same force and effect as a jury verdict and will
not be set aside unless clearly erroneous. Id.                          ANALYSIS
   Arroyo first argues that the compensation court erred in
relying on exhibit 30, Bixenmann’s report, in reaching its
decision to deny future medical expenses, because the exhibit
was not received into evidence; it was offered into evidence
but not “ruled on.” The record shows that the court did not
specifically rule on the offer of any exhibits. At the start of
trial, Arroyo offered exhibits 1 through 15 into evidence and
CPS offered exhibits 16 through 27 and 30 through 36 into
evidence. Both parties were asked if they had any objection
to the exhibits offered by the opposing party. The only objec-
tion by either party was an objection by Arroyo to exhibit 36,
Arroyo’s deposition. The objection was overruled, and the
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
              ARROYO v. CARING FOR PEOPLE SERVS.
                      Cite as 29 Neb. App. 93
court then began discussing the parties’ stipulations. Nothing
further was discussed about the offer or admission of the
exhibits. The court did not specifically state that any of the
exhibits were received into evidence. However, the court ruled
on the only objection, and it is clear from the record that both
parties, as well as the court, proceeded with the understanding
that the exhibits offered by both parties were admitted into
evidence. At least two exhibits were utilized during Arroyo’s
testimony, and the compensation court relied on exhibit 30
as well as other exhibits in its order. Arroyo admits that it is
clear from the record that both parties “proceeded below on
the understanding that various exhibits were part of the record
and applicable to the decision. Just as clearly, so did the
Compensation Court.” Brief for appellant at 10.
   Arroyo suggests, however, that this case is similar to
Morrison Enters. v. Aetna Cas. &amp; Surety Co., 260 Neb. 634,
619 N.W.2d 432 (2000). In that case, some, but not all, of the
documents in the bill of exceptions were marked as exhibits
during a summary judgment hearing, but none were offered
into evidence by either party. The trial judge who presided
at the hearing reserved ruling on the exhibits which were
marked for identification, and the bill of exceptions did not
show that any exhibits were ever received into evidence. The
case was reassigned, and the trial judge who wrote the order
stated that he had reviewed “‘the exhibits,’” but the record
did not show which exhibits were actually received and con-
sidered by the trial court. Id. at 638, 619 N.W.2d at 435. The
Nebraska Supreme Court held that it would not consider any
of the exhibits on appeal. This case is factually different from
the case at issue. Most significantly, as pointed out by Arroyo,
the exhibits were offered into evidence in the present case,
whereas in Morrison, they were not.
   Although not directly on point, we believe this case is more
analogous to State v. Daly, 278 Neb. 903, 775 N.W.2d 47(2009), where an objection was made to an exhibit and the
court failed to rule on such objection. In Daly, the State offered
two exhibits into evidence and the defendant objected. The
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
              ARROYO v. CARING FOR PEOPLE SERVS.
                      Cite as 29 Neb. App. 93
trial court stated it would “‘take them under advisement’”
but subsequently never ruled on the exhibits. Id. at 928, 775
N.W.2d at 68. On appeal, the defendant argued that the court
erred in taking the State’s offer under advisement but never
ruling on the offer or his objections. The Supreme Court con-
cluded that because no request was made for rulings on the
admission of the exhibits, the defendant waived his objections.
The Supreme Court noted the well-established rule that a party
who fails to insist upon a ruling to a proffered objection waives
that objection. The Supreme Court further explained that
      “‘[i]f when inadmissible evidence is offered the party
      against whom such evidence is offered consents to its
      introduction, or fails to object, or to insist upon a ruling
      on an objection to the introduction of the evidence, and
      otherwise fails to raise the question as to its admissibility,
      he is considered to have waived whatever objection he
      may have had thereto, and the evidence is in the record
      for consideration the same as other evidence.’”
Id. at 928, 775 N.W.2d at 68-69.
   In the instant case, exhibit 30 was offered into evidence and
there was no objection. No ruling was made on its admission,
and Arroyo did not insist upon a ruling. Accordingly, we con-
clude that she waived any objection to exhibit 30 and that the
exhibit was in the record for consideration. Arroyo’s argument
that the court erred in relying on exhibit 30 because it was not
received into evidence fails.
   Arroyo next assigns that the compensation court erred in
failing to award her future medical expenses. She argues that
even if exhibit 30, Bixenmann’s report, was received into evi-
dence, the court erred in relying on it to deny her future medi-
cal expenses.
   In regard to future medical expenses, the compensation
court stated:
         The court declines to award [Arroyo] future medical
      expenses as requested, due to the finding of neurosurgeon
      Dr. . . . Bixenmann that [Arroyo] reached [maximum
      medical improvement] on January 31, 2019, with no
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
              ARROYO v. CARING FOR PEOPLE SERVS.
                      Cite as 29 Neb. App. 93
      permanent restrictions, and Dr. Bixenmann’s review of
      the MRI, in which he found no structural injury to the
      spine related to the accident. Dr. Bixenmann also found
      that [Arroyo] has demonstrated the ability to exercise and
      complete tasks over the last year, such as the marathon
      running, and the Court finds that [Arroyo] has reached a
      plateau in terms of medical recovery and is not entitled to
      any future medical care.
   Arroyo suggests that Bixenmann’s report only addressed
whether she had reached maximum medical improvement, and
if so, what degree of impairment she had. She contends that
Gallant’s opinion, in contrast to Bixenmann’s opinion, is spe-
cifically directed at her need for future medical treatment and
is the opinion the court should have relied upon.
   [4-6] An award of future medical expenses requires explicit
medical evidence that future medical treatment is reasonably
necessary to relieve the injured worker from the effects of the
work-related injury. Tchikobava v. Albatross Express, 293 Neb.
223, 876 N.W.2d 610 (2016). It is the role of the compensation
court as the trier of fact to determine which, if any, expert wit-
nesses to believe. Hintz v. Farmers Co-op Assn., 297 Neb. 903,
902 N.W.2d 131 (2017). Both Bixenmann and Gallant provided
opinions regarding Arroyo’s future medical care. The compen-
sation court reviewed the opinions from both physicians and
adopted Bixenmann’s opinion. Where the record presents noth-
ing more than conflicting medical testimony, this court will not
substitute its judgment for that of the compensation court. Id.Accordingly, Arroyo’s argument that the court erred in failing
to award future medical expenses fails.
                       CONCLUSION
   We conclude that the compensation court did not err in rely-
ing on exhibit 30, because Arroyo waived any objection to
exhibit 30 and the exhibit was in the record for consideration.
We further conclude that the court did not err in failing to
award Arroyo future medical expenses.
                                                   Affirmed.
